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                                                                  FILED
                                                             Dec 07 - 2023

                                                               John M. Domurad, Clerk

                                            1:23-MJ-725(CFH)




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